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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

NICOLE CHASE                                   :     NO.: 3:18-cv-00683 (VLB)
                                               :
v.                                             :
                                               :
NODINE’S SMOKEHOUSE, INC., et al               :     DECEMBER 17, 2021

         PLAINTIFF’S MOTION IN LIMINE TO PRECLUDE THE TESTIMONY
         OF CHIEF ARCIERO AND DEFENDANT EXHIBITS CD-S and CD-NN

        The plaintiff, through counsel, here moves to preclude the admissibility of

the following evidence at trial:

     1) Defendants’ Exhibit CD-S emails regarding Connecticut State Police

        Investigation of Chase Matter;

     2) Defendants’ Exhibit CD-NN, the Internal Affairs investigation of

        Christopher Arciero; and

     3) “Expert” Testimony of Chief Arciero.

        For the reasons outlined in the accompanying memorandum of law, the

documents and testimony should be precluded in their entirety, except as

expressly consented to therein.



        Wherefore, the plaintiff respectfully requests that the motion in limine be

granted.




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                                       THE PLAINTIFF,
                                       NICOLE CHASE

                                       By:_Lewis Chimes (CT 07023)
                                       Lewis Chimes (Juris No. CT 07023)
                                       Mary-Kate Smith (Juris No. CT 26820)
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                                       msmith@chimeslaw.com


                                       CERTIFICATION


       I HEREBY CERTIFY that on the 17th day of December 2021 a copy of the
foregoing was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by email to all parties by
operation of the court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the court’s CM/ECF System.


                                              ___/s/ Lewis Chimes
                                                     Lewis Chimes




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